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        COUNSEL FOR SENTINEL REINSURANCE, LTD.

                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

        IN RE:                                                 §       CHAPTER 11
                                                               §
        HIGHLAND CAPITAL MANAGEMENT, LP                        §       CASE NO: 19-34054-sgj11
                                                               §
                          DEBTOR.                              §       (Joint Administration)

        UBS SECURITIES LLC AND UBS LONDON  §
        BRANCH AG, Plaintiff,              §
                                           §
        v.                                 §                           ADV. PROC. NO. 21-03020
                                           §
        HIGHLAND CAPITAL MANAGEMENT, L.P., §
        Defendant.                         §


                                           WITNESS AND EXHIBIT LIST

                   Sentinel Reinsurance, Ltd. (“Sentinel”) hereby files its Witness and Exhibit List for the

        hearing scheduled for October 27, 2021, at 1:30 pm (CST) in the above-captioned adversary

        proceeding.

                   1.     Sentinel may offer any one or more of the following exhibits at the hearing:




                                                                                                          1
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                                                                           M     O     O     A
         Exhibit                           Description                     A     F     B     D
                                                                           R     F     J     M       Disposition
                                                                           K     E     E     I      After Hearing
                                                                           E     R     C     T
                                                                           D     E     T
                                                                                 D

            A           Management and Administrative Services
                        Agreement dated October 1, 2013

            B           Letter from UBS Counsel to Sentinel dated May
                        14, 2021

            C           Subpoena served upon Beecher in the Northern
                        District of Texas, Bankruptcy Court dated June
                        29, 2021 (ECF No. 106-2)

            D           Letter from Brown & Brown (Beecher Parent)
                        regarding Subpoena dated July 13, 2021

            E           Letter from UBS Counsel to Sentinel dated July
                        21, 2021

            F           Information Subpoena served upon Beecher in
                        New York County Supreme Court dated July 21,
                        2021

            G           Letter from Sentinel’s Cayman Islands Counsel
                        to UBS Counsel dated July 23, 2021

            H           Letter from Sentinel Counsel to UBS Counsel
                        dated August 18, 2021

            I           E-mail thread between Sentinel Counsel to UBS
                        Counsel dated August 20, 2021

            J           Subpoena served upon Beecher in New York
                        County Supreme Court dated August 24, 2021

            K           Redacted Email from the Honorable Judge
                        Melissa A. Crane of New York Supreme Court of
                        New York County, Commercial Division dated
                        September 16, 2021

                   2.       Sentinel may call any of the following as a witness at the hearing:

                            A.      Casey McDonald, independent director of Sentinel;

                            B.      Any witness called or designated by any other party in interest; and

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                          C.      Any witness necessary to rebut the testimony of witnesses called or
                                  designated by any other party.

                   Sentinel reserves the right to supplement or amend this Witness and Exhibit List at any time

        prior to the hearing.

        DATED: October 22, 2021                          Respectfully submitted by:

                                                         /s/ Thomas C. Scannell
                                                         Thomas C. Scannell (TX 24070559)
                                                         Katherine R. Catanese
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                                                         COUNSEL FOR SENTINEL




                                            CERTIFICATE OF SERVICE

              I hereby certify that, on October 22, 2021, a true and correct copy of the foregoing
        document was served electronically by the Court’s PACER system.

                                                         /s/ Thomas C. Scannell
                                                         Thomas C. Scannell




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